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EXHIBIT 1
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- — COPY

AGREEMENT FOR LEGAL SERVICES

This Legal Services Agreement (“Agreement”) contains the terms under which Zimmerman Reed,
PLLP will provide legal services to you, as the (“Client”). This Agreement describes the scope of
legal services to be performed as well as Zimmerman Reed's standard billing policies and

practices. This Agreement will be applicable to your matter unless otherwise agreed in writing. —

Scope of Services. Zimmerman Reed agrees to provide you legal services in connection
with the damage you assert to have suffered due to head injuries incurred because of your career
as an NFL player. By agreeing to have Zimmerman Reed represent you, you are agreeing to
cooperate with Zimmerman Reed by providing information in a timely fashion when required to do
so, by making yourself available as may be necessary for the prosecution of your claim and to be
fully and completely candid and truthful as to the facts and circumstances surrounding your
injury/damage.

Fees, Charges and ses fo al Representation. Zimmerman Reed's fee
shall equal 33 %4% of the total amount recovered for Client, whether lump sum or a structured
settlement calling for future payments or a contribution of both and shall be payable to at the time
of settlement or payment. The term “recovery” shall include the present value of any monetary
payments agreed to be made or the fair market value of any property or services agreed to be
transferred or rendered for the benefit of the Client. Zimmerman Reed will advance all costs as
are reasonable to prosecute the lawsuit, including but not limited to, all discovery or court costs,
the cost of investigation, records, copy costs, photocopies, long distance telephone calls, postage
(other routine correspondence), travel expenses incurred in the prosecution of the action and
other necessary and incidental expenses. Zimmerman Reed may employ investigators and
experts and the expenses of such employment shall be reimbursed as advanced costs. All
advanced costs and expenses attributable to Client's case shall be reimbursed to Zimmerman
Reed from the recovery. If no recovery is obtained for Client in this case, Client shall owe no fee
to Attorneys.

Zimmerman Reed and Client further agree that the fees agreed upon herein apply
through settlement in advance of trial or before an appeal after the original trial. If the need
Should arise for an appeal either to be prosecuted or defended, then Client and Zimmerman Reed
may enter into a separate agreement for such appellate work.

Any recovery shall be distributed in the following manner and order:

* To Zimmerman Reed, a fee in the amount of 33 1/3%;

= To Zimmerman Reed, a sum equal to all costs advanced plus a reasonable
carrying charge if the litigation is protracted;
To the holder of any valid lien, a sum to satisfy the lien; and

* To Client, the balance of the recovery.

Fees, Charges and Expenses in Joining with Similar Actions. Zimmerman Reed may
determine to join your action with the actions of individuals who have suffered a similar injury. By
entering into this Agreement, you agree that such joinder presents no conflict with the
representation of you as an individual and the fees, charges and expenses for individual
representation set forth above shall apply.

Termination. As the Client, you may terminate Zimmerman Reed as your legal counsel
at any time by written notice to Zimmerman Reed. Upon receipt of such a notice, Zimmerman
Reed will cease all work on your behalf and will cooperate with you in finding appropriate counsel
to substitute for Attorneys or in transferring your file to counsel of your choice. Zimmerman Reed
may also withdraw as your legal counsel or suspend or limit its services to you, in compliance
with applicable rules of professional responsibility. Those rules include provisions permitting
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withdrawal if a client makes the representation unreasonably difficult, requests conduct on the
part of Zimmerman Reed which is unprofessional or fails to fulfill an obligation to Zimmerman
Reed. However, such a withdrawal will only be done after providing you adequate notice and an
opportunity to secure other counsel. Zimmerman Reed reserves the right to seek payment for all
costs and expenses advanced by Zimmerman Reed at the time of any termination or withdrawal.
“Association of Other Counsel. Zimmerman Reed t may seek to associate with other
counsel as may be required for the professional and efficient prosecution of your claim. You
consent to such association. If other counsel are associated, you will not be charged any more
than is accounted for in this agreement. However, your consent to the association of other
counsel on this matter and the fees, charges and expenses set forth above will be applicable to
other counsel.

Qutcome. There is no way to predict the outcome of this matter and by agreeing to
provide you legal services, Zimmerman Reed does not, and cannot, guarantee a successful
outcome to your dispute. Zimmerman Reed does guarantee that it will attempt to provide you
with professional legal services and representation.

Settlement. If Zimmerman Reed receives a settlement offer in this matter, that offer will
be transmitted to you promptly. Zimmerman Reed will not settle your claim without your prior
approval.

Governing Law and Rules. This Agreement will be interpreted under the laws and rules
which govern attorney-client relationships set forth in the Minnesota Rules of Professional
Responsibility, opinions and case law interpreting those tules.

Communication. You are encouraged to communicate at any reasonable time any

concerns or questions concerning your matter directly to any attorney and paraprofessional
familiar with your matter.

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ZIM AN REED, PLLP

